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5
     Attorney for Defendant
6    CHANRATH YATH
7

8                           IN THE UNITED STATED DISTRICT COURT

9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )   Case No.: 1:13-cr-00136 AWI
                                                    )
12                  Plaintiff,                      )   STIPULATION TO ADVANCE
                                                    )   SENTENCING HEARING
13          vs.                                     )
                                                    )   Date: May 19, 2014
14   CHANRATH YATH,                                 )   Time: 10:00 am
                                                    )   Honorable Anthony W. Ishii
15                  Defendant.                      )
16          It is hereby stipulated by and between the parties hereto, through their attorneys of record
17   as follows:
18          The sentencing hearing is currently set in this matter for June 2, 2014 at 10:00 am. It is
19   respectfully stipulated and requested that the sentencing hearing be advanced to May 19, 2014 at
20   10:00 am. The Presentence Report has been completed and the parties are ready to proceed with
21   sentencing on that date.
22   Dated: May 2, 2014
                                                          /s/ Carl M. Faller_____
23
                                                          CARL M. FALLER
24                                                        Attorney for Defendant
                                                          CHANRATH YATH
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     ///
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          Case 1:13-cr-00136-DAD-BAM Document 281 Filed 05/05/14 Page 2 of 2


                                                         BENJAMIN B. WAGNER
1
                                                         United States Attorney
2

3                                                    By: /s/ Grant Raeben____
                                                         GRANT RAEBEN
4                                                        Assistant U.S. Attorney
5

6
                                                 ORDER
7
            Based upon the stipulation of the parties and good cause appearing, it is hereby
8
     ORDERED that the defendant’s sentencing hearing currently set for June 2, 2014 at
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10   10:00 am, be advanced to May 19, 2014 at 10:00 am.

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12   IT IS SO ORDERED.

13   Dated: May 5, 2014
                                                SENIOR DISTRICT JUDGE
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